Case 1-17-40104-cec   Doc 149-3   Filed 04/16/18   Entered 04/16/18 20:44:47




                      EXHIBIT C
     Case 1-17-40104-cec                 Doc 149-3          Filed 04/16/18   Entered 04/16/18 20:44:47




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Attorneys for Debtor
        and Debtor in Possession

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
 - - - - - - - - - - - - - - - - - - - - - -- - - - - - - - - - - -x            Case No. 17-40104 (cec)
                                                                   :
IN RE:                                                             :
                                                                   :
                    PRIME SIX, INC.,                               :
                                                                   :
                                    Debtor-in-Possession. :
                                                                   :
 - - - - - - - - - - - - - - - - - - ------------- - - - x                            Chapter 11

  REPORT OF BALLOTS CAST BY UNSECURED CREDITORS WITH RESPECT TO
      THE DEBTOR’S SEVENTH AMENDED PLAN OF REORGANIZATION


                                VOTED TO ACCEPT                                VOTED TO REJECT
                            Amount                        Number             Amount           Number
                             (% )                          (% )               (% )             (%)

 Class III                 77,670.41                         4                  0                  0
                             100%                          100%




                                       Invalid Ballots Not Counted
                        Name on Ballot - Amount - Accept/Reject - Reason Invalid

        Super PC Systems Inc., a Schedule D Unsecured Creditor, Voted to Accept the Plan but
did not state any amount for its Claim. The Debtor’s records indicate its claim amount is
“Unknown” and therefore its ballot was not included in the aggregate cast for the Plan.




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Dated: April 16, 2018
       New York, New York
                                              RANDALL S. D. JACOBS, PLLC



                                              By: /s/   Randall S. D. Jacobs
                                                       Randall S. D. Jacobs
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UNITED STATES BANKRUPTCY COURT
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 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x            Case No. 17-40104 (csc)
                                                                    :
IN RE:                                                              :
                                                                    :
                     PRIME SIX, INC.,                               :
                                                                    :
                                     Debtor-in-Possession. :
                                                                    :
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                                          CERTIFICATION OF BALLOTS

          Randall S. D. Jacobs, Esq., hereby certifies the truth and accuracy of the following

statement:

          1.        I am counsel to the Debtor, Prime Six, Inc. (the “Debtor”) and submit this

affirmation in connection with the attached tabulation of ballots received from Unsecured

Creditors of the Debtor voting on the Seventh Amended Plan of Reorganization (the “Plan”)

from February 16, 2018 through April 11, 2018 pursuant to the Disclosure Statement Order.

          2.        In that period, I received a total of four (4) ballots all of which voted to ACCEPT

the Plan. The Ballots with stated amounts of Claims accepting the Plan aggregate $77,670.41.

(One (1) of those four ballots purported to vote to accept the Plan, but failed to state the amount

of the Creditor’s claim which the Debtor had Scheduled as “Unknown” and therefore was not

included in the aggregate votes.)


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         3.     All the ballots cast will be retained in my files for one year pursuant to the

direction of the Court.

         Executed on April 16, 2018

                                                       /s/   Randall S. D. Jacobs
                                                               Randall S. D. Jacobs




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